       Case 1:21-cv-00532-SAG Document 126-1 Filed 10/18/21 Page 1 of 1


From:              Bryce Carrasco
To:                MDD_SAGChambers
Subject:           Pacer Fee Exemption Request
Date:              Monday, October 18, 2021 12:20:25 PM


CAUTION - EXTERNAL:

Judge Gallagher,

I am reaching out to ask for a fee waiver exemption from the District Court for my pacer account, as I
cannot afford the fees currently charged to my account. Thank you.

Bryce Carrasco
Cell: 410-858-7432
Email: bocarrasco47@outlook.com

CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution
when opening attachments or clicking on links.
